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                      UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF NEW YORK


   MARTÍN JONATHAN BATALLA VIDAL,               )
   ANTONIO ALARCON, ELIANA FERNANDEZ,           )
   CARLOS VARGAS, MARIANO                       )
   MONDRAGON, and CAROLINA FUNG FENG,           )     PLAINTIFFS’ MEMORANDUM
                                                )
   on behalf of themselves and all other similarly    OF LAW IN OPPOSITION TO
   situated individuals, and MAKE THE ROAD      )     DEFENDANTS’ MOTION TO
                                                )
   NEW YORK, on behalf of itself, its members, its    DISMISS
                                                )
   clients, and all similarly situated individuals.
                                                )     Case No. 1:16-cv-04756 (NGG) (JO)
                  Plaintiffs,                   )
                                                )
                          v.                    )
                                                )
   ELAINE C. DUKE, Acting Secretary, Department )
   of Homeland Security, JEFFERSON              )
   BEAUREGARD SESSIONS III, Attorney General )
   of the United States, and DONALD J. TRUMP,   )
   President of the United States,              )
                                                )
                  Defendants.                   )
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                                         INTRODUCTION

         On June 15, 2012, then-Secretary of Homeland Security Janet Napolitano announced the

  creation of the Deferred Action for Childhood Arrivals (“DACA”) program. As Defendants

  themselves have explained, DACA is a program that provided guidance for the Department of

  Homeland Security’s (“DHS”) exercise of prosecutorial discretion in the form of a grant of

  deferred action, based on a case-by-case determination by DHS officials. See Defs.’ Mem. in Supp.

  of Mot. to Dismiss (“Defs.’ Mem.”) (ECF No. 95-1) at 4-6.

         Under the DACA program, millions of people benefitted, including but not limited to

  DACA recipients (like the individual Plaintiffs in this case), and their families, communities, and

  employers (including Plaintiff Make the Road New York). Plaintiffs, on behalf of themselves and

  others similarly situated, have challenged the abrupt and unlawful manner in which DACA was

  terminated.

         For purposes of Defendants’ Rule 12(b)(1) motion, all of Plaintiffs’ allegations must be

  taken as true. Defendants nonetheless maintain that their decision to terminate DACA is entirely

  immune from judicial review even if, as Plaintiffs allege: Defendants’ stated reasons for

  terminating DACA are legally erroneous and based in substantial part on a desire to discriminate

  against Latinos and Mexicans. Defendants contend this Court lacks power to review even if the

  termination of DACA injures millions of people by failing to comply with procedural due process

  and the procedural protections of the Administrative Procedures Act (“APA”) and the Regulatory

  Flexibility Act (“RFA”). 1


  1
    Plaintiffs also allege that the DACA termination included changes to the confidentiality policy,
  under which DACA applicants were promised that the information they provided the government
  (including about their parents) would not be used for immigration enforcement purposes except in
  narrow, delineated circumstances; Plaintiffs challenge the changes to that policy under the APA.
  See Second Am. Compl. (“SAC”) (ECF No. 60) ¶¶ 137, 143, 151, 153-54.

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             As explained below, all of Defendants’ jurisdictional and justiciability arguments fail

   because they are rooted in the flawed characterization of Plaintiffs’ claims as challenging denials

   of deferred action to specific individuals. This simply is not the case. Plaintiffs challenge the

   wholesale termination of the DACA program, an agency action that is appropriate for judicial

   review.

             Defendants’ theory of jurisdiction-stripping is dangerously broad. This Court is not being

   asked to interfere with or block an individual removal proceeding or deportation, nor to set deferred

   action priorities for federal immigration officials. Yet Defendants attempt to dramatically expand

   narrow restrictions on judicial review of decisions of that nature to cut off any judicial review of

   all actions related to deferred action. Their contentions for doing so are unsupported by precedent,

   logic, or our constitutional separation of powers, none of which give the Executive the kind of

   blank check that the Trump Administration currently claims.

             Finally, this Court should be wary of Defendants’ attempted invocation of absolute

   discretion and non-justiciability for the additional reason that Defendants have repeatedly stated

   that DACA was terminated because courts, including the Supreme Court of the United States,

   would enjoin the purportedly unreviewable exercise of prosecutorial discretion. Defendants cannot

   have it both ways; they cannot both characterize the termination of DACA as motivated by

   prospective judicial review, yet bar the Court from reviewing it.

             For all these reasons, Defendants’ motion should be denied.

                                             BACKGROUND

             On September 5, 2017, Defendants announced the termination of DACA, categorically

   ending the availability of deferred action for nearly 800,000 young immigrants who have relied on

   DACA to study, work, and live securely in their communities. The termination, which was



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   announced by the Department of Justice (“DOJ”) at a press conference, fundamentally changed

   the rules that apply to those who had received deferred action through DACA. Defendants ended

   discretionary review of any newly filed individual requests and set a new and unprecedented

   timeline for a final renewal for a subset of affected individuals. By memorandum from Acting

   Secretary Duke (released at the aforementioned press conference), DHS officials were ordered to

   reject all new DACA applications as of September 5, 2017 and to reject all renewal applications

   received after October 5, 2017. 2

          Defendants’ decision to end the DACA program admittedly did not take into account any

   of the benefits of DACA or the reliance interests it has engendered. Instead, Defendants state that

   their decision was based on perceived “litigation risk,” and the erroneous legal conclusion that

   DACA was unlawful. Defs.’ Mem. at 1. As Defendants explain it, the decision to terminate DACA

   was based on a series of contingent future events: that Texas and other states would sue to enjoin

   DACA; that DACA would be held unlawful; that DACA would be enjoined; and then that said

   injunction would be extremely disruptive. See id. As Defendants tell it, the only alternative they

   perceived to this series of contingencies was to immediately terminate DACA. Id.

                                         LEGAL STANDARD

          A district court may only dismiss an action for lack of subject matter jurisdiction pursuant

   to Rule 12(b)(1) when the court “lacks the statutory or constitutional power to adjudicate it.”

   Cortlandt St. Recovery Corp. v. Hellas Telecomms., S.Á.R.L., 790 F.3d 411, 416-17 (2d Cir. 2015)

   (citations omitted). In reviewing a motion to dismiss, the Court must “accept as true all material

   allegations of the complaint[ ] and . . . construe the complaint in favor of the complaining party.”




   2
    See Remarks on DACA, Attorney General Jeffrey Beauregard Sessions (Sept. 5, 2017),
   https://www.justice.gov/opa/speech/attorney-general-sessions-delivers-remarks-daca.
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   W.R. Huff Asset Mgmt. Co. v. Deloitte & Touche L.L.P., 549 F.3d 100, 106 (2d Cir. 2008) (internal

   quotation marks omitted). “At the pleading stage,” courts “presum[e] that general allegations

   embrace those specific facts that are necessary to support the claim.” Lujan v. Defs. of Wildlife,

   504 U.S. 555, 561 (1992) (alteration in original) (internal quotations and citation omitted).

                                             ARGUMENT

          The Court should deny Defendants’ motion to dismiss because: (1) Defendants’ decision

   to terminate DACA is not committed to agency discretion, and the Court has meaningful

   standards to apply; (2) 8 U.S.C. § 1252(g) is only applicable in narrow circumstances that are not

   at issue in this litigation; and (3) Plaintiff Make the Road New York has a cause of action under

   the APA.

     I.   Defendants’ Decision to Terminate DACA is Not Immune from APA Review

          There is a strong presumption in favor of judicial review of agency actions, subject only to

   narrow exceptions. See, e.g., Mach Mining, L.L.C. v. EEOC, 135 S. Ct. 1645, 1651 (2015). This

   strong presumption of reviewability can only be overcome by “clear and convincing evidence”

   that Congress intended for the agency action to be unreviewable. Sharkey v. Quarantillo, 541 F.3d

   75, 84 (2d Cir. 2008); see also Salazar v. King, 822 F.3d 61, 75 (2d Cir. 2016) (noting that “[i]n

   the absence of an express statutory prohibition,” the agency has a “heavy burden” to show that its

   decision is unreviewable (citing Dunlop v. Bachowski, 421 U.S. 560, 567 (1975)). Defendants

   argue that the decision to terminate DACA is an “enforcement” action, immune from APA review

   because prosecutorial discretion is “committed to agency discretion by law,” such that the Court

   has no meaningful standard by which to evaluate whether the termination of DACA was lawful.

   See Defs.’ Mem. at 12-16. In addition, Defendants attempt to distance themselves from applicable




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   case law by claiming that the context of immigration law makes this case somehow unique from

   those precedents. See id. at 16-17. Defendants are wrong on both fronts.

          A.     Defendants’ Termination of DACA Is Not Immune from APA Review as a
                 Decision “Committed to Agency Discretion by Law” Because the Court Has
                 Meaningful Standards to Apply

          A narrow exception to APA review is for action that is “committed to agency discretion by

   law.” 5 U.S.C. § 701(a)(2). As the Supreme Court has emphasized, this is a “very narrow

   exception” only “applicable in . . . rare instances.” Citizens to Preserve Overton Park, Inc. v. Volpe,

   401 U.S. 402, 410 (1971), abrogated on other grounds by Califano v. Sanders, 430 U.S. 99 (1977).

   This narrow exception only applies if the applicable statutes, regulations, formal or informal

   agency guidance, or settled course of adjudication provide absolutely nothing against which the

   court may review the action at hand. See I.N.S. v. Yueh-Shaio Yang, 519 U.S. 26, 32 (1996);

   Westchester v. U.S. Dep’t of Hous. & Urban Dev., 778 F.3d 412, 419 (2d Cir. 2015); Salazar, 822

   F.3d at 76.

          Defendants’ argument that this exception applies here mischaracterizes the termination of

   DACA as a decision about whether to enforce immigration law as to particular individual

   noncitizens. See Defs.’ Mem. at 13-14. But Plaintiffs do not challenge the application of federal

   immigration law (or the decision to forebear from doing so) to any particular individual; instead,

   they challenge the decision by Defendants to terminate a federal program through which nearly

   800,000 people have directly benefitted, and the manner in which that termination was carried out.

   Defendants cite no cases even suggesting that such a sweeping change to a programmatic federal




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   policy is immune from judicial review. On the contrary, courts have consistently found that

   challenges to broad agency policies dealing with enforcement are reviewable. 3

          Instead, to support their expansive interpretation of § 701(a)(2), Defendants rely only on

   cases challenging a specific agency decision to take or not take discretionary enforcement action.

   See Defs.’ Mem. at 13-15. Heckler v. Chaney involved an agency’s decision not to take particular

   requested enforcement actions. 470 U.S. 821 (1985). Reno v. American-Arab Anti-Discrimination

   Committee (“ADC”) was a challenge to an agency decision to target specific individuals for

   deportation. 525 U.S. 471 (1999). United States v. Armstrong considered the circumstances under

   which criminal defendants could challenge the prosecutor’s decision to enforce criminal laws

   against them specifically. 517 U.S. 456 (1996). And Mada-Luna v. Fitzpatrick—which concerned

   a particular noncitizen’s request for deferred action—actually undermines Defendants’ own

   contention; while it noted (in dicta) that denial of that individual’s request was not reviewable,

   Mada-Luna considered his APA challenge to the deferred action operating instructions on the

   merits. 813 F.2d 1006 (9th Cir. 1987). Plaintiffs do not challenge any specific enforcement

   decision, and so none of these cases support the weight Defendants attempt to put on them. 4




   3
     See, e.g., Int’l Refugee Assistance Project v. Trump, No. TDC-17-0361, No. TDC-17-2921, No.
   TDC-17-2969, 2017 WL 4674314, at *13 (D. Md. Oct. 17, 2017); Kenney v. Glickman, 96 F.3d
   1118, 1123-24 (8th Cir. 1996); New York City Emps. Ret. Sys. v. S.E.C., 45 F.3d 7, 10-11 (2d
   Cir. 1995); Crowley Caribbean Transp., Inc. v. Peña, 37 F.3d 671, 677 (D.C. Cir. 1994);
   Robbins v. Reagan, 780 F.2d 37, 45 (D.C. Cir. 1985).
   4
     The other cases Defendants cite are even further afield. Perales v. Casillas relied on a dated, out-
   of-circuit rule that only “statutory or regulatory provisions” could offer a standard for the court to
   apply on review. 903 F.2d 1043, 1047 (5th Cir. 1990). But see I.N.S. v. Yueh-Shaio Yang, 519 U.S.
   26, 32 (1996) (establishing that an established course of agency practice is sufficient to offer a
   basis for judicial review); Salazar v. King, 822 F.3d 61, 76 (2d Cir. 2016) (same). Arpaio v. Obama
   affirmed dismissal of a county sheriff’s challenge to the DAPA deferred action program for lack
   of standing. 797 F.3d 11 (D.C. Cir. 2015).

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          The “complicated balancing of a number of factors” required in determining whether to

   take a particular enforcement action, Chaney, 470 U.S. at 831, is wholly absent from the

   categorical decision to end the DACA program. The mechanics of the program’s termination

   illustrate that point: the deadlines are not based on individualized factors or enforcement priorities;

   nor is the final March 5, 2018 cut-off based on the complicated balancing of factors at play when

   deciding whether to take a particular enforcement action. To the contrary, DHS has given its staff

   categorical instructions to reject all initial requests for DACA received after September 5, 2017,

   and all requests for DACA renewals received after October 5, 2017. Wholesale termination of a

   program through which individuals could be considered for prosecutorial discretion simply does

   not fall under the Chaney presumption against reviewability. See, e.g., Crowley Caribbean

   Transp., Inc. v. Peña, 37 F.3d 671, 676-77 (D.C. Cir. 1994) (distinguishing general enforcement

   policy decisions from “the sort of mingled assessments of fact, policy, and law that drive an

   individual enforcement decision”).

          The D.C. Circuit case Robbins v. Reagan is instructive as to why Defendants’ reliance on

   Chaney is misplaced. 780 F.2d 37 (D.C. Cir. 1985). Robbins set out at least three reasons why

   Chaney and its presumption against reviewability did not apply in a case involving an agency’s

   decision to rescind a commitment to fund the building of a shelter. Id. at 46-47. First, while Chaney

   reasoned that decisions declining to take enforcement action do not implicate the exercise of

   “coercive power over individuals’ liberty or property rights, and thus do not infringe upon areas

   that courts often are called upon to protect,” 470 U.S. at 832 (emphasis omitted), the rescission of

   a commitment is a different matter. As Robbins explained:

          By contrast, rescissions of commitments, whether or not they technically implicate
          liberty and property interests as defined under the fifth and fourteenth amendments,
          exert much more direct influence on the individuals or entities to whom the
          repudiated commitments were made.

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   Robbins, 780 F.2d at 47. Second, Robbins held that reviewing an agency’s rescission of its own

   prior policy did not implicate any concerns that the court would be taking on the discretionary

   balancing role of the agency. “Rather, the court is simply ensuring a limited degree of fidelity to

   the agency’s own decision [on] how to use its resources.” Id. Third, whereas an agency’s decision

   not to take action may “necessitate a focusless evaluation of agency policy and priorities—a role

   for which courts are not suited,” “[r]ecissions of prior obligations clearly fall into the ‘focused

   action’ category,” giving courts a “specific affirmative action to be reviewed.” Id. For these

   reasons, the D.C. Circuit in Robbins held that the agency’s decision to rescind a prior commitment

   did not fall within the “committed to agency discretion by law” exemption. In so holding, the D.C.

   Circuit cautioned, “[t]his court has long held that an agency’s change in direction from a previously

   announced intention is a danger signal that triggers scrutiny to ensure that the agency’s change of

   course is not based on impermissible or irrelevant factors.” Id. at 48.

          The wholesale termination of the DACA program is procedurally analogous to—and of

   much larger scope and import than—the situation in Robbins. Here, DHS rescinded its own policy

   and commitment to hundreds of thousands of individuals who have reordered their lives in reliance

   on that commitment. The same three reasons the Robbins Court gave for why Chaney’s

   presumption against reviewability did not apply are equally germane here: (1) the DACA

   termination was an affirmative reversal of agency policy effecting a “coercive power over

   individuals’ liberty or property rights” that Chaney’s non-action avoided and that partially justified

   its immunity from review, 470 U.S. at 832; (2) reviewing DHS and DOJ’s rescission of their own

   policy does not implicate a concern that the Court would interfere with the discretionary balancing

   role of the agencies; and (3) the termination of the agencies’ own prior policy gives the Court a

   “specific affirmative action to be reviewed.” Robbins, 780 F.2d at 47.

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          In addition, the Court has meaningful standards and past agency guidance and practice with

   which to review the termination of the DACA program, including but not limited to federal

   congressional appropriations acts mandating DHS focus their enforcement efforts on those with

   serious criminal histories or who present national security threats; 5 statutory mandates regarding

   enforcement priorities; 6 formal DOJ and DHS regulations authorizing deferred action since the

   1980s; 7 over fifty years of group-based deferred action programs, see Defs.’ Mem. at 3, 6, none of

   which were ever terminated in this way; the 2012 DACA Memorandum itself, see Robbins, 780

   F.2d at 47 (rescission of agency’s own prior policy provides a “specific affirmative action to be

   reviewed”); and the Office of Legal Counsel’s in-depth, published legal analysis of the proposal

   to expand the DACA program. 8 The Court has ample material with which to review the termination

   of the DACA program.

          Defendants’ explanation for the termination of DACA also undermines their attempt to

   analogize to Chaney. Defendants identified “litigation risk” as a primary basis for terminating

   DACA—revealing that there are available standards for a court to apply in reviewing the existence

   and structure of the DACA program. Notably, they did not rely on the kind of justifications that

   characterize decisions committed to agency discretion under Chaney—such as a concern about

   effective use of agency resources or case-specific factors. See 470 U.S. at 831-32. Defendants



   5
     See Consolidated Appropriations Act, Pub. L. No. 113-76, Div. F, tit. II, 128 Stat. 5, 251 (Jan.
   17, 2014); Consolidated Security, Disaster Assistance, and Continuing Appropriations Act, Pub.
   L. No. 110-329, 122 Stat. 3574, 3659 (Sept. 30, 2008).
   6
     8 U.S.C. § 1103(a)(3) (2012).
   7
     See 8 C.F.R. § 109.1(b)(7) (1982); 8 C.F.R. § 274a.12(c)(14) (2017).
   8
     Memorandum Opinion for the Secretary of Homeland Security and the Counsel to the President,
   The Department of Homeland Security’s Authority to Prioritize Removal of Certain Aliens
   Unlawfully Present in the United States and to Defer Removal of Others, Opinions of the Office of
   Legal Counsel of the Department of Justice (Op. O.L.C. Vol. 38) (Nov. 19, 2014),
   https://www.justice.gov/file/179206/download.

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   provide this Court with no precedent that insulates a large-scale rescission of an entire program as

   immune from judicial review.

          Defendants cannot take refuge under § 701(a)(2) when both the practical effect and stated

   reason for their actions are contrary to the narrow exception to APA review. Defendants’ citation

   to I.C.C. v. Bhd. of Locomotive Eng’rs (“BLE”), 482 U.S. 270 (1987), does not change the

   analysis. BLE applies when the Court is satisfied that an agency decision is unambiguously

   discretionary and unreviewable. Id. at 283. That threshold step is what Defendants fail to

   demonstrate here. Defendants’ stated reasons for terminating DACA—because DACA was

   unlawful and subject to immediate injunction by the Texas Attorney General—refute the basis for

   applying § 701(a)(2) in the first place. BLE does not bless agency doublespeak or mandate that

   court ignore practical reality. Where § 701(a)(2) applies, BLE confirms that an agency’s

   volunteered rationale for taking “otherwise unreviewable action” is insufficient to overcome §

   701(a)(2), 482 U.S. at 283. BLE does not require this Court to disregard Defendants’ own legal

   and non-discretionary explanation for terminating DACA in deciding whether § 701(a)(2) applies

   at all to oust the Court of jurisdiction. Defendants fail to establish why jurisdiction should be

   assessed on a fundamentally different theory than how they publicly explained and defended the

   termination of the DACA program.

          B.    That Defendants’ Termination of a Programmatic Federal Policy Is
                Immigration-Related Does Not Change the Above Analysis

          Misapplying Chaney, Defendants suggest that “[t]his presumption of nonreviewability

   applies with particular force when it comes to immigration.” Defs.’ Mem. at 14. That Defendants’

   challenged action occurred in the general context of immigration, however, does not change the

   analysis above. Contrary to Defendants’ characterization of Plaintiffs’ claims, the Court is not

   being called upon to review the intricate policy outcomes the DACA termination effected (or the


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   policy outcomes of the creation of DACA). Instead, Plaintiffs are contesting the abrupt and radical

   departure from prior policies and the procedural means by which Defendants chose to make that

   change. This is not a case where Plaintiffs’ claims would require the Court to determine how

   Defendants should grant DACA relief, so as to threaten the agency’s ability to balance

   discretionary factors, see Perales v. Casillas, 903 F.2d 1043, 1051 (5th Cir. 1990); or to review an

   agency action that is so desultory that there is no relevant law or guidance to apply, see Lunney v.

   United States, 319 F.3d 550, 558 (2d Cir. 2003) (holding unreviewable the U.S. Navy’s statement

   that it did not have possession of a medal because there was no law to apply to review the Navy’s

   discretion for possessing a physical object).

          C.    Section 701(a)(2) Does Not Limit Plaintiffs’ Constitutional Claims

          Even if 5 U.S.C. § 701(a)(2) precluded APA review (which, as explained above, it does

   not), Defendants cannot use it to block Plaintiffs’ constitutional claims. The Supreme Court has

   recognized that judicial review of constitutional claims is still available even if an agency action

   is “committed to agency discretion” pursuant to § 701(a)(2). Webster v. Doe, 486 U.S. 592, 603

   (1988). In Webster, for example, the Court held that a gay CIA agent’s equal-protection and due-

   process claims must be allowed to go forward, notwithstanding the fact that the employment

   decision was “committed to agency discretion.” Id. As the Court explained, “where Congress

   intends to preclude judicial review of constitutional claims its intent to do so must be clear,” and

   Congress did not make such an intent clear in enacting the APA. Id.; see also Franklin v.

   Massachusetts, 505 U.S. 788, 801-03 (1992) (likewise holding constitutional claims justiciable,

   notwithstanding that the claims were unreviewable under the APA).

          In sum, Defendants’ arguments with respect to 5 U.S.C. § 701(a)(2) are simply inapplicable

   to this case. The wholesale and categorical termination of a program that provided case-by-case



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   deferred action eligibility for hundreds of thousands is an action that the Court may review using

   ample statutory and regulatory authority, together with the agencies’ own policies, protocols, and

   longstanding practices, from which the termination of DACA is a radical departure. The “very

   narrow exception” to APA review for actions committed to agency discretion by law, Overton

   Park, 401 U.S. at 410, simply does not apply here, and therefore the APA provides for judicial

   review of the termination of the DACA program.

       II.   Section 1252(g) Does Not Preclude Jurisdiction of this Case

             This Court has subject matter jurisdiction to consider Plaintiffs’ claims under 5 U.S.C. §§

   701 et seq. (the Administrative Procedure Act), and 28 U.S.C. § 1331 (federal question

   jurisdiction). 9 Defendants argue, however, that 8 U.S.C. § 1252(g) strips this Court of jurisdiction.

   Defendants’ reading of § 1252(g) comports neither with a plain reading of the statute nor

   controlling precedent.

             The plain text of the Immigration and Nationality Act (“INA”) refutes Defendants’

   jurisdiction argument. Section 1252(g) strips district courts of jurisdiction from reviewing only a

   limited set of discrete actions that the Secretary of Homeland Security may take: a “‘decision or

   action’ to ‘commence proceedings, adjudicate cases, or execute removal orders.” ADC, 525 U.S.

   at 482 (emphases in original) (quoting § 1252(g)). 10 This lawsuit involves none of these discrete


   9
      The District Courts’ authority to review federal questions is broad. See, e.g., Grable & Sons
   Metal Prods., Inc. v. Darue Eng’g & Mfg. Eyeglasses, 545 U.S. 308, 310 (2005) (holding that
   there can be federal question jurisdiction in the absence of a federal law creating a cause of action
   if there is an important national interest to be served in providing a “federal forum” for review);
   Smith v. Kansas City Title & Tr. Co., 255 U.S. 180, 199 (1921) (“[W]here it appears from the bill
   or statement of the plaintiff that the right to relief depends upon the construction or application of
   the Constitution or laws of the United States, and that such federal claim is not merely colorable,
   and rests upon a reasonable foundation, the District Court has jurisdiction under this provision.”).
   10
      Section 1252(g) reads, in full:
           (g) Exclusive jurisdiction


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   decisions. Plaintiffs do not challenge Defendants’ decision to commence proceedings against any

   individual, to adjudicate a case against any individual, or execute a removal order against any

   individual. Plaintiffs challenge a substantially different agency action: the decision to categorically

   terminate a program that established criteria for granting deferred action to individuals.

          In ADC, the Supreme Court confirmed that § 1252(g) is a narrow provision, strictly limited

   to the three specific actions outlined in its text. Id. ADC was explicit, in fact, that § 1252(g)’s

   sweep does not include all decisions or actions along the road to deportation. Writing for the

   majority, Justice Scalia explained:

          [Section 1252(g)] applies only to three discrete actions that the Attorney General
          may take[] . . . . There are of course many other decisions or actions that may be
          part of the deportation process-such as the decisions to open an investigation, to
          surveil the suspected violator, to reschedule the deportation hearing, to include
          various provisions in the final order that is the product of the adjudication, and to
          refuse reconsideration of that order.

          It is implausible that the mention of three discrete events along the road to
          deportation was a shorthand way of referring to all claims arising from deportation
          proceedings.

    Id.

          Contrary to Defendants’ argument here, courts have repeatedly recognized that § 1252(g)

   is not “a general jurisdictional limitation” to claims that arise from or relate to actual or potential

   removal proceedings. Id. See, e.g., Calcano-Martinez v. I.N.S., 232 F.3d 328, 339 n.5 (2d Cir.

   2000) (“The Supreme Court thus held that [§ 1252(g)] applies in a very narrow class of cases.”).


          Except as provided in this section and notwithstanding any other provision of law
          (statutory or nonstatutory) including section 2241 of Title 28, or any other habeas
          corpus provision, and sections 1361 and 1651 of such title, no court shall have
          jurisdiction to hear any cause or claim by or on behalf of any alien arising from the
          decision or action by the Attorney General to commence proceedings, adjudicate
          cases, or execute removal orders against any alien under this chapter.
   8 U.S.C. § 1252(g).


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   For example, in the State of Texas’ challenge to the DAPA program, the district court and Fifth

   Circuit held that 1252(g) presented no bar. Texas v. United States, 809 F.3d 134, 164 (5th Cir.

   2015), rev’d, (Nov. 25, 2015) (holding that 8 U.S.C. § 1252(g) did not apply and explaining,

   “Congress has expressly limited or precluded judicial review of many immigration decisions,

   including some that are made in the Secretary’s ‘sole and unreviewable discretion,’ but DAPA is

   not one of them”) (internal footnotes omitted). See also Fornalik v. Perryman, 223 F.3d 523, 532

   (7th Cir. 2000) (holding that § 1252(g) presented no bar to reviewing procedurally conflicting

   deferred action determinations and defendants’ failure to exercise discretion to resolve the

   conflict); Kwai Fun Wong v. United States, 373 F.3d 952, 964 (9th Cir. 2004) (“Following []ADC,

   we have narrowly construed § 1252(g).”) (collecting cases).

          The plain reading of the statute also draws support from other canons of statutory

   interpretation. There is a strong presumption in favor of allowing judicial review of administrative

   actions, and statutes should not be construed to preclude judicial review of unconstitutional

   actions. See Demore v. Kim, 538 U.S. 510, 517 (2003) (“[W]here Congress intends to preclude

   judicial review of constitutional claims its intent to do so must be clear.” (citation omitted)).

          Defendants’ efforts to expand the scope of § 1252(g) have no merit. Defendants

   erroneously attempt to sweep Plaintiffs’ claims into § 1252(g) by arguing that the rescission of

   DACA is a “necessary step” in commencing enforcement proceedings and that Plaintiffs cannot

   “circumvent” § 1252(g) by “singling out that single step [to deny DACA] for preemptive

   challenge.” Defs.’ Mem. at 18. However, the rescission of an individual’s DACA status is not itself

   a necessary step to commence an enforcement proceeding against a DACA recipient, but rather (at

   most) a step that makes the former DACA recipient available for the commencement of removal

   proceedings against him. Even under Defendants’ erroneous characterization, § 1252(g) does not



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   strip courts of jurisdiction over “necessary steps,” and an expansive reading of the narrow text to

   cover all preliminary steps to removal is precisely what ADC rejected. See 525 U.S. at 482

   (rejecting the contention that “that § 1252(g) covers the universe of deportation claims—that it is

   a sort of ‘zipper’ clause that says ‘no judicial review in deportation cases’”). Whether § 1252(g)

   applies is not based on the timing of the decision but rather the nature of the decision.

          Second, Defendants’ jurisdiction argument (again) mischaracterizes Plaintiffs’ claims,

   attempting to blur the distinction between case-by-case denials of deferred action and the

   categorical termination of the program. The plain text of § 1252(g) only covers case-by-case

   decisions, and each of the cases Defendants cite in support of their expansive reading of § 1252(g)

   deals with individual determinations, a situation wholly different than what Plaintiffs challenge

   here. 11 See ADC, 525 U.S. at 471 (challenge to government’s decision to institute removal

   proceedings against individual immigrants); Botezatu v. I.N.S., 195 F.3d 311 (7th Cir. 1999)

   (noncitizen challenging Government’s refusal to grant his individual request to forebear from

   executing his removal order); Vasquez v. Aviles, 639 F. App’x 898 (3d Cir. 2016) (same).

          Finally, Defendants’ broad invocation of the Executive’s authority over foreign policy, see

   Defs.’ Mem. at 14, does not insulate their action from judicial review, particularly considering that

   Defendants’ decision to terminate DACA articulated no foreign policy considerations. Invoking

   the shibboleth of “foreign policy” does not insulate the actions of an executive agency from

   scrutiny; a reviewing court must “listen with care” to determine whether the agency’s judgment

   actually “rest[s] on foreign policy expertise.” Zadvydas v. Davis, 533 U.S. 678, 696 (2001) (despite


   11
     Even with regard to individual decisions related to DACA, district courts have held that §
   1252(g) is inapplicable. Torres v. U.S. Dep’t of Homeland Sec., No. 17-cv-1840, 2017 WL
   4340385, at *4 (S.D. Cal. Sept. 29, 2017); Coyotl v. Kelly, No. 1:17-cv-1670-MHC, 2017 WL
   2889681, at *9 (N.D. Ga. June 12, 2017) (§ 1252(g) did not bar judicial review of whether
   defendants complied with their own procedures in revoking plaintiff’s DACA permit).

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   government’s invocation of a foreign policy rationale—that judicial review of the viability of a

   detained noncitizen’s removal would “interfere with ‘sensitive’ repatriation negotiations”—the

   government failed to explain how such review “could make a significant difference in th[at]

   respect”). The Secretary’s memorandum terminating the DACA program is devoid of any foreign

   policy rationale for the decision, much less one founded on foreign policy expertise.

   III.    Make the Road New York Has a Cause of Action Under the APA

           Defendants do not contest that any of the Plaintiffs have standing, 12 but nonetheless

   contend that Make the Road New York lacks a cause of action under the APA, arguing that the

   INA does not protect “advocacy organizations” from the “incidental effects” of “a denial of

   deferred action.” Defs.’ Mem. at 20-21. Once more, Defendants’ arguments mischaracterize the

   relevant legal test and the claims Plaintiffs assert.

           “[I]n the APA context,” the zone of interests test is “not especially demanding.” Lexmark

   Int’l, Inc. v. Static Control Components, Inc., 134 S. Ct. 1377, 1389 (2014) (citation and internal

   quotation marks omitted). A plaintiff’s interest need only “arguably” fall within the zone of

   interests to have a cause of action, and the test “forecloses suit only when a plaintiff’s interests are

   so marginally related to or inconsistent with the purposes implicit in the statute that it cannot

   reasonably be assumed that Congress authorized that plaintiff to sue.” Id. (citation and quotation

   marks omitted); see also Salazar, 822 F.3d at 73.

           Make the Road New York is a nonprofit organization dedicated to empowering immigrant,

   Latino, and working-class communities in New York; it provides direct services to thousands of




   12
      Defendants additionally argue that Plaintiffs lack “standing” to assert their procedural due
   process claim, Defs.’ Mem. at 35, but their argument is based on the sufficiency of the pleadings
   and arises under Rule 12(b)(6), not Rule 12(b)(1). In accordance with Judge Garaufis’s order dated
   October 27, 2017 (ECF No. 98), Plaintiffs do not address that argument here.

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   clients applying for DACA, helping with the necessary paperwork and documentation, and

   offering large-group clinics to assist their members and clients with DACA. See generally SAC ¶¶

   43-61. Make the Road New York has more than 20,000 dues-paying members, including scores

   of current DACA recipients and other members who were or would have become eligible to apply

   for DACA had it not been terminated. See id. ¶¶ 46-50. Approximately a dozen of its current

   employees have DACA. Id. ¶ 47. Make the Road New York asserts standing on behalf of itself, 13

   associational standing on behalf of its members, 14 and third-party standing on behalf of its

   clients. 15

            The various interests that Make the Road New York represents plainly fall within those

   protected by the INA, and it therefore has a cause of action under the APA. Make the Road New

   York’s members and clients with DACA, for example, have precisely the same interests as the

   individual Plaintiffs (who Defendants have not argued lack a cause of action), including the interest

   in being able to lawfully work in the only country most of them have ever called home. And far

   from feeling only “incidental effects” from “a denial of deferred action,” Defs.’ Mem. at 21, the

   wholesale termination of DACA threatens to deprive Make the Road New York of a number of

   highly-valued employees (whom the INA will prohibit the organization from employing after their

   current periods of DACA expire), to say nothing of the multitude of other injuries the termination

   inflicts on the organization. In comparable circumstances, courts have had no trouble holding that

   organizational plaintiffs are within the zone of interests of the INA and therefore have a cause of


   13
      See, e.g., Warth v. Seldin, 422 U.S. 490, 511 (1975) (recognizing that an organization may have
   standing to seek “relief from injury to itself”); Ragin v. Harry Macklowe Real Estate Co., 6 F.3d
   898, 905 (2d Cir. 1993).
   14
      See generally Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977).
   15
      See generally Powers v. Ohio, 499 U.S. 400, 410-11 (1991); U.S. Dep’t. of Labor v. Triplett,
   494 U.S. 715, 718-22 (1990); Caplin & Drysdale, Chartered v. United States, 491 U.S. 617, 623
   n.3 (1989).

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   action under the APA. See, e.g., Abourezk v. Reagan, 785 F.2d 1043, 1050 (D.C. Cir. 1986)

   (organization that invites foreign nationals to speak at rallies); Int’l Refugee Assistance Project v.

   Trump, No. TDC-17-0361, No. TDC-17-2921, No. TDC-17-2969, 2017 WL 4674314, at *13 (D.

   Md. Oct. 17, 2017) (organizations that employ or collaborate with foreign nationals affected by

   President Trump’s most recent travel ban of mostly majority-Muslim countries); cf. Hawaii v.

   Trump, 859 F.3d 741, 766 (9th Cir. 2017) (state that hires employees and enrolls students from

   countries affected by second version of the travel ban), cert. granted sub nom. Trump v. Int’l

   Refugee Assistance Project, 137 S. Ct. 2080 (2017) and cert. granted, judgment vacated as moot,

   No. 16-1540, 2017 WL 4782860 (U.S. Oct. 24, 2017).

                                             CONCLUSION

   For the foregoing reasons, Plaintiffs ask that the Court deny Defendants’ motion to dismiss.

   Respectfully submitted,                                       Dated: November 1, 2017

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